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1    Robert J. Saria
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4    Attorney for Defendant
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8                        UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         No. 2:04-cr-0374-MCE
12             Plaintiff,
13        v.                           APPLICATION AND ORDER FOR WRIT OF
                                       HABEAS CORPUS AD TESTIFICANDUM
14   CLARISSA OGO,
15             Defendant.
     ___________________________/
16
17        COMES NOW the Defendant herein by her attorney ROBERT J.
18   SAIRA, and presents and shows: that there is now confined in the
19   Taft Correctional Institution, Federal Bureau of Prisons, United
20   States Department of Justice, in Taft California, one DEVIN
21   BROWN, in the custody of the warden thereof; that said prisoner
22   is a necessary, material and competent witness in the proceedings
23   before the above-entitled Court in Sacramento, California on
24   August 9, 2006; and that in order to secure the attendance of
25   said prisoner, it is necessary that a Writ of Habeas Corpus ad
26   Testificandum be issued commanding the Federal Bureau of Prison
27   to produce said prisoner in said Court, at the Federal
28   Courthouse, 501 I Street, Sacramento, California on August 9,
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1    2006 at 9:00 a.m., in order that said prisoner may respond to and
2    answer such questions as may be propounded to him during the
3    course of the jury trial in said case.
4         WHEREFORE, the Defendant prays for an order directing the
5    issuance of a Writ of Habeas Corpus ad Testificandum, out of and
6    under the seal of this Court, commanding the United States
7    Department of Justice, Bureau of Prisons, to have and produce in
8    said United States District Court on said date, then and there to
9    respond to and answer such questions as may be propounded to him
10   during the course of the jury trial of the above-entitled case;
11   and at the termination of said proceedings to return forthwith to
12   said above-mentioned institution.
13   Dated this 14th day of July, 2006.
14
15                                            Respectfully submitted,
16                                            /s/ Robert J. Saria
                                              ROBERT J. SARIA
17                                            Counsel for Clarissa Ogo
18
                                      ORDER
19
          Upon reading and filing the foregoing Application in that
20
     behalf, IT IS ORDERED that a Writ of Habeas Corpus ad
21
     Testificandum issue as prayed for herein.
22
     DATED: July 20, 2006
23
24
25                                    ______________________________
                                      MORRISON C. ENGLAND, JR.
26                                    UNITED STATES DISTRICT JUDGE
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